Case 1:18-cv-00790-MSK-NRN Document 1-3 Filed 04/04/18 USDC Colorado Page 1 of 2




    DISTRICT COURT
    CITY & COUNTY OF DENVER, COLORADO
    1437 Bannock Street                                           DATE FILED: February 27, 2018
                                                                  CASE NUMBER: 2018CV30717
    Denver, Colorado 80202


    Plaintiff: JOSEPH A GILL, et al

    v.                                                              COURT USE ONLY


    Defendant: CHRISTOPHER ALLEN WALTZ, et al                  Case Number: 2018CV30717

                                                               Courtroom: 269


                                   DELAY REDUCTION ORDER

   All civil courtrooms are on a delay reduction docket.

   IF AN ATTORNEY OR PRO SE PARTY FAILS TO COMPLY WITH THIS ORDER, THE
   COURT MAY DISMISS THE CASE WITHOUT PREJUDICE. THIS ORDER IS THE
   INITIAL NOTICE REQUIRED BY C.R.C.P 121 § 1-10, AND C.R.C.P. 41(B)(2).
   A. All Civil Cases:

         1. Service of Process: Proof of service of process under C.R.C.P. 4 for all
            defendants must be filed within 63 days after the date of filing of the
            complaint. After 63 days, the action may be dismissed by the Court against
            any defendant for whom proof of service has not been filed.

         2. Default: Application for entry of default under C.R.C.P. 55(a) must be filed
            within 14 days after default has occurred.

            If all defendants are in default, a motion for entry of default judgment under
            C.R.C.P. 55(b) must be filed with the application for entry of default. Motions
            for entry of default judgment must comply with C.R.C.P. 121 § 1-14.
            Reasonable inquiry regarding a person’s military status requires
            confirmation through the Department of Defense’s Servicemembers Civil
            Relief Act website (https://scra.dmdc.osd.mil) or equivalent confirmation.

         3. Trial Setting: The Responsible Attorney as defined in C.R.C.P. 16(b)(2) must
            file and serve a Notice to Set the case for trial and must complete the setting
            of the trial no later than 14 days from the date the case is at issue. (Note: this
            is a shorter time than would otherwise be required by C.R.C.P. 16.1(g)). A
            case is "at issue" when: (a) all parties have been served and have filed all
            pleadings permitted by C.R.C.P. 7; or (b) defaults or dismissal have been

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                                                   Exhibit A
Case 1:18-cv-00790-MSK-NRN Document 1-3 Filed 04/04/18 USDC Colorado Page 2 of 2




          entered against all non-appearing parties; or (c) at such other time as the
          Court directs.

      4. Service of this Order: The Plaintiff or Responsible Attorney must send a copy
         of this order to all other parties who enter an appearance.

       5. Related Cases: An attorney entering an appearance in this case who is aware
           of a related case is ordered to complete and file in this case an Information
           Regarding Related Case(s) form available in Room 256 of the City and
           County Building or at:
   https://www.courts.state.co.us/userfiles/file/Information_Regarding_Related_Cases_Form(1).doc

   B. Cases under C.R.C.P. 16

      1. Case Management Conference: The notice to set trial must also include a
         notice to set a Case Management Conference as required by C.R.C.P. 16(d)(1),
         to be held no later than 49 days after the case is at issue.

      2. Proposed Case Management Order: At least 7 days before the Case
         Management Conference, the parties must file, in editable format, a proposed
         Case Management Order consisting of the matters set forth in C.R.C.P.
         16(b)(1)-(17) and take all necessary actions to comply with those subsections.

      3. Waiver of Case Management Conference: A joint request to waive the case
         management conference may be included in the proposed Case Management
         Order, but unless such a request has been granted, counsel and any
         unrepresented parties should plan on appearing for the case management
         conference.

   C. Cases under C.R.C.P. 16.1

      1. Certificate of Compliance: Not later than 49 days after the case is at issue,
         the Plaintiff (or the Responsible Attorney) must file a Certificate of
         Compliance as required under C.R.C.P. 16.1(h). No Case Management Order
         or Case Management Conference is required.


   Date: February 27, 2018

                                             BY THE COURT:



                                             /s/David H. Goldberg
                                             District Court Judge
                                             Denver District Court

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